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             UNITED STATES DISTRICT COURT
              MIDDLE DISTRICT OF FLORIDA
                     TAMPA DIVISION
CRYSTAL LAGOONS US CORP. AND CRYSTAL LAGOONS
TECHNOLOGIES, INC.,

      Plaintiffs,

v.                                                   Case No. 8:23-CV-00519

OASIS AMENITIES, LLC, SCOTT ANDREASEN, DEAN ATKINSON,
RAYMOND DOUGLAS HALL, COM PACT FILTRATION, INC., UNIQUE
AQUATIC DESIGN, INC., HEIDT DESIGN, LLC, LAGOON FUNATICS,
LLC AND JACOB ROGERS,

      Defendants.
___________________________

NOTICE OF APPEARANCE AND DESIGNATION AS LEAD COUNSEL

      Notice is hereby given that the undersigned counsel files this Notice of
Appearance as counsel of record for Defendants Oasis Amenities, LLC, Scott
Andreasen, Raymond Douglas Hall, Jacob Rogers, and Dean Atkinson and
requests copies of all pleadings, notices, orders, and other papers in this cause
be provided to the undersigned.

     Pursuant to Local Rule 2.02(a), Defendants Oasis Amenities, LLC, Scott
Andreasen, Raymond Douglas Hall, and Jacob Rogers designate Jeffrey M.
Kolokoff as Lead Counsel in this civil action.

      Respectfully submitted May 11, 2023.

                               QUINTAIROS PRIETO WOOD & BOYER
                               PA
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                             Jacob Rogers, and Dean Atkinson


                        CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on May 11, 2023, I presented the foregoing to
the Clerk of the Court for filing and uploading to the Case
Management/Electronic Case Filing (“CM/ECF”) system which will send a
Notice of Electronic Filing to the following CM/ECF participants:

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